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                                   CORNELL CHRONICLE

           After free lunch from drug firms, doctors increase
                              prescriptions
                                  By James Dean 1 February 17, 2020

Doctors prescribe more branded medications after marketing visits by the makers of those drugs,
new research co-authored by a Cornell economist confirms.

But while the 4% average monthly increase in sales of those drugs in the year following such
marketing represents a substantial return on investment, it is well below what some previous
studies have suggested, said Colleen Carey (https://www.human.cornell.edu/people/cmc528), assistant
professor of policy analysis and management in the College of Human Ecology.

Additionally, the study found that drug firms' "detailing" visits -a controversial practice
involving in -kind payments to doctors, commonly meals - does not lead them to prescribe higher -
quality drugs, as industry advocates have argued.

'We took seriously the claim that there is educational value to these marketing encounters,"
Carey said. "We just don't find any evidence for it."

Carey is the author, with Ethan Lieber of the University of Notre Dame and Sarah Miller of the
University of Michigan, of "Drug Firms' Payments and Physicians' Prescribing Behavior in
Medicare Part D (https://www.nber.org/papers/w26751.pdf)," released Feb. 17 as a working paper by
National Bureau of Economic Research.

Leveraging new data and an improved study design, the paper is the first to track doctors'
prescribing behavior before and after payments related to all drugs, not just a single drug or class
of drugs. It also accounted for which doctors were already likely to prescribe these medications
based on their patient mix, and therefore be targeted for detailing.

The analysis showed that doctors shared similar prescribing trends before any payments
occurred. But in the month after receiving a payment, doctors increased the number of patients
taking the drug marketed to them.

'We overcame a bunch of empirical challenges to establish that the payments have a causal
impact on prescribing," Carey said.

The study examined drug prescribing between 2013 and 2015 for a large sample of enrollees in
Medicare Part D, a federal program that subsidizes prescriptions for 37 million senior and
disabled Americans, and accounts for nearly one-third of U.S. retail prescription drug sales.
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That information was linked to Open Payments, a database started in 2013 under the Affordable
                                                                                         to
Care Act that required pharmaceutical companies to report monetary or in -kind payments
doctors, including meals, travel, speaking engagements or continuing education expenses.

In general, those payments were not lavish - 95% were meals, of which 80% were valued at less
than $20, according to the study.
                                                                      comprehensive estimate of
But they were commonplace, and achieved results. Offering the most
its kind, the study found that more than 20% of Medicare Part D expenses on branded
medications resulted from doctors who received a payment related to a drug they prescribed.
                                                                                during the sample
Nearly 30% of Part D physicians were paid for at least one drug they prescribed
period.
                                                                                      large," the
"The prevalence of the practice implies that the financial impacts are economically
researchers wrote.

The researchers estimated that for every additional dollar spent on detailing visits, drug firms
could expect to reap $2.64 in increased drug revenue over the next year -a 164% return on
                                                                           1,700%, according to the
investment. Previous estimates were much higher, ranging from 200% to
study.
                                                                          medical centers - is a
It's easy, Carey said, to see why detailing - now banned by some academic
good investment: The visits are cheap, and the drugs are expensive.

"You don't need a big behavior change for these visits to make economic sense for the drug
                                                                                                  the
firms," she said. "For a lot of these drugs, if you get the doctor to prescribe it once more over
next year, you would have broken even."
                                                                        collected data on the clinical
To assess whether payments led to better treatment, the researchers
trial efficacy of each drug for three major classes of drugs with agreed -upon endpoints for
treatment related to blood pressure, cholesterol and mental health. Drug fines commonly discuss
clinical trial results during marketing encounters, so the researchers investigated whether doctors
begin to prescribe drugs with higher efficacy after the visits.
                                                                            but the drop was too small
 They found the quality of drugs prescribed after payments actually fell,
 to be clinically meaningful.

 Overall, doctors' interactions with drug firm sales representatives increased firm revenues, but
 the study did not find that they improved prescribing quality.

 "We do not find clear evidence that such payments are harmful to patients," the researchers
 concluded, "only that they do not seem to be obviously helpful."

 Financial support for the study came from the Robert Wood Johnson Foundation.
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